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                                                              By TamaraEllis at 3:27 pm, Mar 30, 2020
                               United States Court of Appeals
                                           FIFTH CIRCUIT
                                        OFFICE OF THE CLERK
         LYLE W. CAYCE                                                         TEL. 504-310-7700
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                                        March 30, 2020


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               No. 20-10055       Selina Ramirez, et al v. City of Arlington,
                                  Texas, et al
                                  USDC No. 4:20-CV-7 -P


        Dear Mr. Levine, Mr. Voss,
        The briefing notice issued on 3/25/2020 has been suspended.
        Briefing shall resume when the supplemental electronic record on
        appeal is filed.


                                            Sincerely,
                                            LYLE W. CAYCE, Clerk

                                            By: _________________________
                                            Casey A. Sullivan, Deputy Clerk
                                            504-310-7642
        cc:
               Mr. Thomas Dean Malone
               Ms. Karen S. Mitchell
               Mr. Bruce K. Thomas
